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SPR/CKK (58513-10-93)
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ZENITH INSURANCE COMPANY,                              )
                                                       )
                                      Plaintiff,       )   Case No.: 20-cv-06699
          v.                                           )
                                                       )   Consolidated with
THYSSENKRUPP ELEVATOR                                  )
CORPORATION,                                           )   Case No.: 20-cv-07220
                                      Defendant.       )
                                                       )   Judge Charles R. Norgle, Sr.
THYSSENKRUPP ELEVATOR                                  )
CORPORATION,                                           )   Magistrate Judge: Beth W. Jantz
                  Third-Party Plaintiff,               )
     v.                                                )
                                                       )
TRIAD SENIOR LIVING, INC. d/b/a                        )
WATERFORD ESTATES AND AFFORDABLE                       )
COMMUNITY HOUSING TRUST-EPSILON,                       )
                                                       )
                          Third-Party Defendants.      )

               AGREED MOTION FOR THE ENTRY OF A CONSENT JUDGMENT
          Defendant/Third-Party Plaintiff ThyssenKrupp Elevator Corporation ("TKE") and Third-

Party Defendant Affordable Community Housing Trust-Epsilon ("ACHTE") have agreed to

resolve Count III of Third-Party Plaintiff TKE's Third Amended Third-Party Complaint ("Third-

Party Complaint") (Zenith Dkt. 86) (Carroll Dkt. 81). Pursuant to their agreement, TKE and

ACHTE have agreed to entry of a consent judgment on the terms provided in the attached

Exhibit 1. TKE and ACHTE jointly request that the Court enter the Consent Judgment in the form

provided.




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